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 8                          IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT COURT OF CALIFORNIA
10   UNITED STATES OF AMERICA,
11                         Respondent,                    2:10-CR-0055 KJM
12          vs.
13   JOSE SERRANO-VILLALOBOS,
14                         Movant.                        ORDER
15   ________________________________/
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17                  On October 10, 2013, movant Jose Serrano-Villalobos filed a motion to vacate,
18   set aside, or correct his sentence under 28 U.S.C. § 2255. The docket reflects that movant filed
19   a notice of appeal on December 13, 2012. ECF No. 101. The Ninth Circuit’s docket reflects
20   that counsel has filed a no-issues brief under Anders v. California, 386 U.S. 738 (1967), but
21   that the Court of Appeals has not yet undertaken its independent review of the case. United
22   States v. Villalobos, No. 12-10643.
23                  “[A] district court should not entertain a [2255 motion] while there is an appeal
24   pending . . . .” United States v. Deeb, 944 F.2d 545, 548 (9th Cir. 1991). Accordingly, the
25   court DENIES the instant motion, ECF No. 128, without prejudice.
26                  IT IS SO ORDERED.
27   DATED: November 5, 2013.
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                                                         UNITED STATES DISTRICT JUDGE
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